     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.1 Page 1 of 20



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9
10                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
11
12
      PHILIP JOHNSON, individually and         Case No.:   '22CV518 TWR JLB
13
      on behalf of all others similarly
14    situated,                                CLASS ACTION COMPLAINT
15                               Plaintiff,    DEMAND FOR JURY TRIAL
16
            v.
17                                             (1) Breach of Contract
      UNITED SERVICES
18    AUTOMOBILE ASSOCIATION,                  (2) Unjust Enrichment
19    USAA CASUALTY INSURANCE
      GROUP, USAA GENERAL                      (3) Violation of California Business
20    INDEMNITY COMPANY, and                   and Professions Code § 17200 et seq.
21    GARRISON PROPERTY AND
      CASUALTY INSURANCE
22    COMPANY, and DOES 1 through
23    20, inclusive,
24                              Defendants.
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                                 CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.2 Page 2 of 20



1                            CLASS ACTION COMPLAINT
2          Plaintiff Philip Johnson (“Plaintiff Johnson” or “Plaintiff”), by and through
3    his attorneys and on behalf of himself and all others similarly situated, hereby
4    submit this Class Action Complaint against Defendants United Services Auto
5    Association, USAA Casualty Insurance Group, USAA General Indemnity
6    Company, and Garrison Property and Casualty Insurance Company Group
7    (collectively, “USAA” or “Defendants”), and allege as follows:
8                            PRELIMINARY STATEMENT
9          1.     This case is filed to end USAA’s practice of unfairly profiting from
10   the global COVID-19 pandemic.
11         2.     Beginning in March 2020, states across the country, including
12   California, began to enforce strict social distancing measures to slow the spread
13   of COVID-19. This included closing schools and businesses and instituting strict
14   “stay-at-home” orders that prevented most individuals from leaving their homes
15   for extended periods of time.
16         3.     While many companies, industries, and individuals have suffered
17   financially as a result of the COVID-19 pandemic, auto insurers like USAA have
18   scored a windfall. Not surprisingly, as a result of state-wide social distancing and
19   stay-at-home measures, there has been a dramatic reduction in driving, and an
20   attendant reduction in driving-related accidents. This decrease in driving and
21   accidents has significantly reduced the number of claims that auto insurers like
22   USAA have paid, resulting in a drastic and unfair increase in USAA’s profits at
23   the expense of its customers.
24         4.     One published report calculates, very conservatively, that at least a
25   30% average refund of paid premiums would be required to make up for the
26   excess amounts paid by consumers for just the period between mid-March and the
27   end of April of 2020.
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                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.3 Page 3 of 20



1           5.     Despite full knowledge of these facts, USAA continued to charge
2    and collect excessive premiums throughout 2020 and 2021 and has failed to issue
3    adequate refunds. USAA’s dividend and premium credit program was inadequate
4    to compensate its customers for overpayments resulting from COVID-19. The
5    program applied only a 20% dividend to policyholders spanning three months
6    starting in March 2020. And although USAA reports that it offered an additional
7    dividend and smaller premium credits later in 2020 and 2021, these amounts were
8    still insufficient.
9           6.     To remedy Defendants’ unlawful conduct, Plaintiff bring this class
10   action alleging violations of California state law. Plaintiff seeks disgorgement of
11   the ill-gotten gains obtained by USAA to the detriment of its customers, all
12   available damages, punitive damages, declaratory and injunctive relief, and all
13   other available relief.
14                                     JURISDICTION
15          7.     This Court has jurisdiction under 28 U.S.C. § 1332(d) because this is
16   a class action in which the amount in controversy is over $5,000,000 exclusive of
17   interest and costs, and at least one member of the class is a citizen of a State
18   different from Defendants.
19                                           VENUE
20          8.     Venue is proper in the Southern District of California under 28
21   U.S.C. § 1391 because a substantial part of the events or omissions giving rise to
22   the claims occurred in this district.
23                                           PARTIES
24          9.     Defendant United Services Auto Association is a Texas corporation
25   with a principal place of business in San Antonio, Texas. Defendant sells personal
26   automobile insurance in states around the country, including California.
27   Defendant issued auto insurance policies during the relevant time period at issue.
28          10.    Defendant USAA Casualty Insurance Company is a Texas
                                                2
                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.4 Page 4 of 20



1    corporation with a principal place of business in San Antonio, Texas. Defendant
2    sells personal automobile insurance in states around the country, including
3    California. Defendant issued auto insurance policies during the relevant time
4    period at issue.
5          11.     Defendant USAA General Indemnity Company is a Texas
6    corporation with a principal place of business in San Antonio, Texas. Defendant
7    sells personal automobile insurance in states around the country, including
8    California. Defendant issued auto insurance policies during the relevant time
9    period at issue.
10         12.    Defendant Garrison Property and Casualty Company is a Texas
11   corporation with a principal place of business in San Antonio, Texas. Defendant
12   sells personal automobile insurance in states around the country, including
13   California. Defendant issued auto insurance policies during the relevant time
14   period at issue. Defendant Garrison Property and Casualty Company is a
15   subsidiary of United Stated Automobile Association.
16         13.    Defendants collectively market insurance and present themselves as
17   USAA and virtually all of the insurance operations of these companies are
18   performed by the same USAA entity, named United Services Automobile
19   Association or “USAA” as abbreviated. 1
20        14. Defendants issued personal auto, motorcycle, and/or RV insurance

21   policies to Plaintiff and the members of the putative class during the relevant time

22   period. Defendants are affiliated companies, jointly participated in, and are jointly

23   responsible for the unlawful conduct described herein.

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25
     1
      See Management Discussion and Analysis in 2020 Annual Financial Statements
26   at
27   https://interactive.web.insurance.ca.gov/companyprofile/companyprofile?event=c
     ompanyProfile&doFunction=getCompanyProfile&eid=3288 (last accessed April
28   11, 2022)
                                              3
                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.5 Page 5 of 20



1          15.    In April 2020, USAA announced it would be returning a portion of

2    premiums in the form of statement credits. 2 These statement credits and return of

3    a portion of premiums in the form of dividends were uniformly developed by

4    USAA and was applied in identical fashion by each of the Defendants. Indeed,
5    Defendants submitted a joint memorandum to the California Department of
6    Insurance explaining the uniform terms and application of the USAA premium
7    credits and dividends. 3 Defendants have each applied the USAA policy premium
8    credit and dividend program and the unfair practices at issue to California
9    policyholders during the relevant time period. 4
10         16.    Plaintiff Johnson is an adult resident of Bonita, California. Plaintiff
11   has held personal auto insurance policies purchased from United Services Auto
12   Association during the time period relevant to this lawsuit. As described in more
13   detail herein, as a result of the global COVID-19 pandemic and corresponding
14   drop in automobile use and traffic, the credit given by United Services Auto
15   Association is wholly inadequate to compensate Plaintiff for his overpayments on
16   these policies.
17   /
18   /
19
20   2
       https://communities.usaa.com/t5/Press-Releases/USAA-to-Return-520-Million-
21   to-Members/ba-p/228150 (last accessed April 11, 2022)
     3
       See “CA COVID-19 Premium Refund Report Submissions - Company U to Z,”
22
     California Department of Insurance, at “USAA - Group# 200 - Bulletin 2020-3
23   Resubmission,” www.insurance.ca.gov/0250-insurers/0300-insurers/0100-
     applications/rsb-forms/2020/2020-3-
24
     submissions/loader.cfm?csModule=security/getfile&amp;pageid=315821 (last
25   accessed April 11, 2022).
     4
       See id. at worksheet for United States Automobile Association – NAIC #25941,
26
     USAA Casualty Insurance Company – NAIC #25968, USAA General Indemnity
27   Company – NAIC #18600, and Garrison Property and Casualty Insurance –
     NAIC #21253
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                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.6 Page 6 of 20



1               FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
2    A.     The Global COVID-19 Pandemic and State-Mandated Social
3           Distancing Measures
4           17.   In late December 2019, a novel coronavirus known as SARS-CoV-2
5    began to spread around the globe. The virus causes a disease called COVID-19.
6    By mid-January, cases of COVID-19 were confirmed in the United States.
7           18.   By mid-March, there were thousands of confirmed cases of COVID-
8    19 across the United States and hundreds in the State of California alone.
9           19.   Like many states around the country, California responded to the
10   worsening COVID-19 crisis with measures designed to increase, and often
11   mandate, social distancing in order to slow the spread of the virus.
12          20.   On March 4, 2020, Governor Gavin Newsom proclaimed a State of
13   Emergency in California as a result of COVID-19. In the following weeks, the
14   state rolled out a series of social distancing measures, including, for example,
15   recommendations that older adults and those with elevated risk should self-
16   isolate.
17          21.   On March 19, 2020, Governor Newsom instituted a statewide stay-
18   at-home order, 5 making California among the first states to establish such an
19   order. With some exceptions, the order mandated “all individuals living in the
20   State of California to stay home.” 6
21          22.   In the time since Governor Newsom first instituted the stay-at-home
22   order, California’s progress toward reopening has been halting, and additional
23   stay-at-home orders were imposed in response to the spread of COVID cases.
24
25
26   5
       Executive Order N-33-20 (Mar. 19, 2020), https://www.gov.ca.gov/wp-
27   content/uploads/2020/03/3.19.20-attested-EO-N-33-20-COVID-19-HEALTH-
     ORDER.pdf (last accessed April 11, 2022)
28   6
       Id. ¶ 1.
                                            5
                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.7 Page 7 of 20



1    B.     USAA Has Obtained a Windfall Due to the Dramatic Decrease in
2           Automobile Use and Traffic Caused by COVID-19
3           23.   Although businesses across the United States have almost uniformly
4    suffered as a result of COVID-19, state-wide stay-at-home orders, and other
5    social distancing measures, the auto insurance industry has benefited. In fact, auto
6    insurance—a $250 billion industry— has secured a windfall from COVID-19-
7    related restrictions. The reason is simple. As one report put it: “With shelter-in-
8    place restrictions and business closings, most people stopped driving or reduced
9    their driving dramatically. With fewer cars on the road, there were dramatically
10   fewer accidents. Fewer motor vehicle accidents mean fewer auto insurance
11   claims.” 7
12          24.   Beginning in mid-March of 2020, the number of miles driven by
13   individuals dropped dramatically because of COVID-19. This includes the State
14   of California. Through the use of cell phone location data, it has been reported
15   that vehicle miles traveled in California dropped significantly from their January
16   2020 average in March and April of 2020: 8
17
18                       Date Range                   Decrease in Miles Traveled
19                  March 15 - March 21                           -53%
20                  March 22 - March 28                           -72%
21                   March 29 - April 4                           -74%
22                    April 5 - April 11                          -77%
23                   April 12 - April 18                          -74%
24                   April 19 - April 25                          -71%
25   7
       See Center for Economic Justice & Consumer Federation of America, Personal
26   Auto Insurance Premium Relief in the COVID-19 Era at 5 (May 7, 2020)
     (“CEJ/CFA Report”), https://consumerfed.org/wp-
27   content/uploads/2020/05/Auto-Insurance-Refunds-COVID-19-Update-Report-5-
     7-20.pdf (last accessed April 11, 2022)
28   8
       See id. at 6-8.
                                             6
                                  CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.8 Page 8 of 20



1    Upon information and belief, decreases in pre-COVID miles traveled continued
2    through the end of 2020 and well into 2021. 9
3          25.    Automobile accidents have also decreased. According to the Road
4    Ecology Center at the University of California, Davis, traffic collisions, including
5    those involving injuries or fatalities, dropped by roughly half after California
6    instituted its stay-at-home order. 10
7          26.    This dramatic decrease in driving and auto accidents allowed auto
8    insurance companies, including USAA, to unfairly profit at the expense of their
9    customers during the COVID-19 pandemic. Auto insurance rates, including those
10   set by USAA, are intended to cover the claims and expenses that they expect to
11   occur in the future, extrapolated from historical data. Thus, as explained in the
12   joint report by the Center for Economic Justice and the Consumer Federation of
13   America:
14         Because of COVID-19 restrictions, the assumptions about future
15         claims underlying insurers’ rates in effect on March 1 became
           radically incorrect overnight. When roads emptied, the frequency of
16         motor vehicle accidents and insurance claims dropped dramatically
           and immediately. The assumptions in insurers’ rates covering time-
17         frames from mid-March forward about future frequency of claims
18         became significantly wrong when the roads emptied because of Stay-
           At-Home orders and business closures starting in mid-March. The
19         then-current rates became excessive not just for new policyholders
           going forward, but also for existing policyholders whose premium
20         was based on now-overstated expectation about insurance claims. 11
21
22
     9
       See id. at 2; see also Center for Economic Justice & Consumer Federation of
     America, Auto Insurance Refunds Needed as New Data Show Crashes Remain
23   Well Below Normal Due to Pandemic (Dec. 22, 2020),
     https://consumerfed.org/press_release/auto-insurance-refunds-needed-as-new-
24   data-show-crashes-remain-well-below-normal-due-to-pandemic-23-fewer-
25   accidents-in-september-and-october/ (last accessed April 11, 2022)
     10
        Fraser Shilling and David Waetjen, Special Report: Impact of COVID19
26   Mitigation on Numbers and Costs of California Traffic Crashes, Road Ecology
     Center, UC Davis, Apr. 1, 2020 (updated Apr. 15, 2020),
27   https://roadecology.ucdavis.edu/sites/g/files/dgvnsk8611/files/files/COVID_CHI
     Ps_Impacts_report2.pdf (last accessed April 11, 2020)
28   11
        CEJ/CFA Report, supra, at 4.
                                               7
                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.9 Page 9 of 20



1          27.    The excessive premiums collected and not refunded by USAA
2    during the COVID-19 pandemic have led to a substantial windfall.
3    C.    USAA Has Failed to Give Adequate Refunds to Plaintiff and Other
4          Policyholders in California
5          28.    According to conservative calculations by the Center for Economic
6    Justice and the Consumer Federation of America based on motor vehicle accident
7    data, at least a 30% minimum average premium refund to consumers would be
8    required to correct the unfair windfall to auto insurance companies, including
9    USAA, just for the time period from mid-March through the end of April 2020. 12
10         29.    At all relevant times, USAA has been aware of the need to refund
11   premiums in order to correct the unfair windfall it gained from policyholders in
12   California as a result of the COVID-19 crisis. USAA has likewise been aware of
13   its excessive profits. Despite this, USAA has failed to adequately return these
14   profits to its customers.
15         30.    In spring 2020, USAA announced its plans to issue dividends to its
16   auto insurance policyholders. Under the program, USAA provided a dividend
17   representing approximately a 20% premium credit to personal auto insurance
18   customers for three months’ worth of premiums. 13
19         31.    Following the issuance of its dividends, USAA subsequently issued
20   premium credits in the amount of 20% of one month’s premium for policyholders
21   who were issued a policy in April or May 2020. USAA also issued a second
22   premium credit amounting to 10% of one month’s premium for policyholders
23
     12
       CEJ/CFA Report, supra, at 12-13.
24   13
       USAA’s pandemic-related dividend was extended because, per an August
25   2020, statement attributed to USAA President and CEO Wayne Peacock on
     USAA’s website, “We see that members are driving less than when the pandemic
26   hit. As these patterns unfold, we are adjusting our auto insurance rates.” See
     “USAA to Return an Additional $270 Million to Members, Totaling Over $1
27   Billion in Dividends,” (August 2020), https://communities.usaa.com/t5/Press-
     Releases/USAA-to-Return-an-Additional-270-Million-to-Members-Totaling/ba-
28   p/235292 (last accessed April 11, 2022).
                                               8
                                 CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.10 Page 10 of 20



1     who had a policy in effect in August of 2020. The company reports that it
2     subsequently provided additional, but even smaller refunds to California
3     customers in 2020 and 2021 ranging between 5% and 3% of monthly premiums.
4           32.      But USAA’s dividend and premium credit program has been
5     inadequate to compensate its customers for the unfair windfall that the company
6     has obtained as a result of COVID-19. The credits were nowhere near the
7     minimum 30% average refund benchmark that has been conservatively
8     estimated as an adequate refund for just the first the first two months of the
9     pandemic alone.
10          33.      Plaintiff Johnson has been a customer of USAA at all relevant
11    times. Plaintiff is a current United Services Auto Association policyholder.
12          34.      Under USAA’s publicly announced dividends and premium credits
13    issued, Plaintiff received dividends and/or premium credits in 2020 and 2021.
14    These dividends and premium credits were inadequate to compensate Plaintiff
15    for the unfair windfall that the company has obtained as a result of COVID-19.
16          35.      Under its insurance policies, including the policies of Plaintiff and
17    the members of the putative class, USAA has the discretion to make voluntary
18    downward premium adjustments based on an insured’s changed circumstances.
19          36.      USAA improperly exercised that discretion by failing to issue
20    refunds of the now-excessive premiums during changed circumstances, when it
21    should have instead used its discretion, in good faith, to make appropriate
22    adjustments.
23          37.      Plaintiff’s policies described above were in effect during the time
24    period in which most of the United States, including California, was significantly
25    impacted by the global COVID-19 pandemic and stay-at-home orders (along with
26    other measures and conditions) caused a widespread and dramatic decrease in
27    automobile use and traffic. Despite this, USAA gave Plaintiff inadequate
28    dividends and premium credits on their 2020 and 2021 premiums.
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                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.11 Page 11 of 20



1           38.    USAA was aware that the shelter-in-place orders, social distancing
2     guidelines, and resulting reduction in driving resulted in premiums that were not
3     based on an accurate assessment of risk. Yet USAA continued to collect and
4     retain excessive, unfair premiums from Plaintiff and others.
5           39.    In 1988, California voters approved Proposition 103 to further
6     establish the public policy of the state and to “protect consumers from arbitrary
7     insurance . . . practices, to encourage a competitive insurance marketplace . . . and
8     to ensure that insurance is fair, available, and affordable to all Californians.” The
9     people of the state declared with Proposition 103 that “[t]his law shall be liberally
10    construed and applied in order to fully promote its underlying purposes . . . .”
11          40.    USAA’s collection and/or retention of such excessive premiums
12    violates California public policy and contravenes Proposition 103’s mandate to
13    protect consumers from arbitrary insurance practices, to encourage a competitive
14    insurance marketplace, and to ensure that insurance is fair, available, and
15    affordable for all Californians.
16          41.    Upon information and belief, thousands of other policyholders in
17    California have been injured by USAA’s policy and practice of failing to provide
18    adequate refunds to policyholders due to the COVID-19 pandemic.
19          42.    Plaintiff and the members of the putative class were unable to
20    reasonably avoid these harms because the analysis required to determine premium
21    refunds was within the exclusive knowledge of USAA.
22                           CLASS ACTION ALLEGATIONS
23          43.    Pursuant to Fed. R. Civ. P. 23(a) and 23(b), Plaintiff brings this
24    action individually and on behalf of all similarly situated individuals.
25          44. The proposed class is defined as follows:
26          All California residents who purchased personal automobile insurance from
            USAA covering any portion of the time period from March 1, 2020 to the
27          present.
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                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.12 Page 12 of 20



1           45.    The members of the class are so numerous that joinder of all
2     members is impracticable. While the precise number of class members has not
3     been determined at this time, upon information and belief, there are thousands of
4     individuals in the class. The identities of the class members can be determined
5     from USAA’s records.
6           46.    There are questions of law and fact common to the class that
7     predominate over questions solely affecting individual members.
8           47.    The common questions of law and fact include, but are not limited
9     to:
10                 a. Whether USAA has a common policy or practice of failing to
11                        provide adequate refunds to policyholders due to the COVID-19
12                        pandemic;
13                 b. Whether USAA’s refund program is inadequate;
14                 c. Whether USAA violated the covenant of good faith and fair
15                        dealing;
16                 d. Whether USAA was unjustly enriched as a result of its failure to
17                        provide adequate refunds to its customers;
18                 e. Whether USAA’s failure to provide adequate refunds to its
19                        customers is unfair;
20                 f. Whether USAA has violated California consumer protection laws
21                        through its failure to provide adequate refunds to its customers
22                        and its failure to disclose the inadequacy of its refunds; and
23                 g. the proper measure and calculation of damages.
24          48.    The questions of law and fact listed above will yield common
25    answers for Plaintiff and the class as to whether USAA is liable for the alleged
26    legal violations.
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                                      CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.13 Page 13 of 20



1            49.     Plaintiff’s claims are typical of those of the members of the class.
2     Plaintiff, like other class members, was subject to the unlawful practices
3     described herein.
4            50.     Plaintiff will fairly and adequately protect the interests of the class
5     and has retained counsel experienced in complex class action litigation.
6            51.     Class treatment is appropriate under Fed. R. Civ. P. 23(b)(2) because
7     USAA has acted on grounds that apply generally to the class, so that final
8     injunctive relief or corresponding declaratory relief is appropriate with respect to
9     the class.
10           52.     This action is properly maintainable as a class action under Fed. R.
11    Civ. P. 23(b)(3) because questions of law or fact predominate over any questions
12    affecting individual class members. A class action is superior to other methods in
13    order to ensure a fair and efficient adjudication of this controversy because, in the
14    context of similar litigation, individual Plaintiff often lack the financial resources
15    to vigorously prosecute separate lawsuits in federal court against large corporate
16    defendants. Class litigation is also superior because it will preclude the need for
17    unduly duplicative litigation resulting in inconsistent judgments pertaining to
18    USAA’s policies and practices. There will be no difficulties in managing this
19    action.
20           53.     In the alternative, class treatment is appropriate under Fed. R. Civ. P.
21    23(c)(4) because this is a case in which class adjudication of particular issues
22    would serve the interests of judicial economy.
23                                    CAUSES OF ACTION
24                                           COUNT I
25                                     Breach of Contract –
26                 Violation of the Covenant of Good Faith and Fair Dealing
27                       (On Behalf of Plaintiff and the Putative Class)
28
                                                 12
                                     CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.14 Page 14 of 20



1            54.    Plaintiff restates and incorporates by reference the above paragraphs
2     as if fully set forth herein.
3            55.    Plaintiff and the members of the putative class purchased insurance
4     contracts from USAA and performed their contractual obligations thereunder.
5            56.    USAA owed Plaintiff and the members of the putative class a duty
6     of good faith and fair dealing by virtue of their contractual relationship.
7            57.    Under the insurance contracts, USAA had the discretion to make
8     voluntary downward premium adjustments based on an insured’s changed
9     circumstances
10           58.    Plaintiff and the members of the putative class had a reasonable
11    expectation that USAA would exercise this discretion fairly and in good faith,
12    without depriving Plaintiff and the members of the putative class of their right to
13    have the premiums collected for their insurance coverage limited to no more than
14    a fair rate of return, and to have that rate adjusted if it became excessive.
15           59.    USAA’s failure to return sufficient premiums has disappointed the
16    legitimate expectations of Plaintiff and the members of the putative class of
17    having premiums collected for their insurance coverage that are limited to no
18    more than a fair rate of return, and to have that rate adjusted if it became
19    excessive.
20           60.    USAA’s conduct has thereby deprived Plaintiff and the members of
21    the putative class of one of the key benefits of their contracts, and constitutes a
22    willful violation of the obligation of good faith and fair dealing owed for the
23    purpose of unfairly maximizing revenue from premiums paid by Plaintiff and
24    members of the putative class.
25           61.    In addition, USAA gave more weight to its own interests than to the
26    interests of its policyholders. This conduct violated the higher standard of good
27    faith and fair dealing to which insurers are held due to the special relationship
28    existing between insurer and insured, which is characterized by elements of
                                                13
                                      CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.15 Page 15 of 20



1     public interest, adhesion, and fiduciary responsibility.
2            62.     USAA consciously and deliberately acted with a lack of good faith,
3     despite knowing that its conduct violated the orders of the Department of
4     Insurance, thereby disappointing the reasonable expectations of Plaintiff and the
5     members of the putative class that premiums collected for their insurance
6     coverage would be limited to no more than a fair rate of return, and would be
7     adjusted if they became excessive.
8            63.     Plaintiff and the members of the putative class have been injured as a
9     direct and proximate result of USAA’s unlawful conduct.
10                                          COUNT II
11                            Unjust Enrichment/Quasi-Contract
12                       (On Behalf of Plaintiff and the Putative Class)
13           64.     Plaintiff pleads this Count in the alternative to her other Counts
14    herein.
15           65.     As a result of USAA’s failure to provide adequate refunds to its
16    customers as described herein, USAA has been unjustly enriched.
17           66.     USAA was enriched under such circumstances that it cannot
18    conscientiously retain its gain at Plaintiff’s and the putative class’s expense.
19           67.     Plaintiff and the members of the putative class have been injured as a
20    direct and proximate result of USAA’s unlawful conduct.
21                                         COUNT III
22                 Violation the California Unfair Competition Law (“UCL”)
23                           Cal. Bus. & Prof. Code § 17200 et seq.
24                       (On Behalf of Plaintiff and the Putative Class)
25           68.     Plaintiff restates and incorporates by reference the above paragraphs
26    as if fully set forth herein.
27           69.     Plaintiff and USAA are “persons” within the meaning of the UCL.
28    Cal. Bus. & Prof. Code § 17201.
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                                      CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.16 Page 16 of 20



1           70.    The UCL defines unfair competition to include any “unlawful,
2     unfair, or fraudulent business act or practice.” Cal. Bus. & Prof. Code § 17200.
3           71.    By committing the acts and practices alleged herein, USAA has
4     engaged in unfair business acts and practices in violation of the UCL.
5           72.    A business act or practice is “unfair” under the UCL if it offends an
6     established public policy or is immoral, unethical, oppressive, unscrupulous, or
7     substantially injurious to consumers, and that unfairness is determined by
8     weighing the reasons, justifications, and motives of the practice against the
9     gravity of the harm to the alleged victims. USAA has violated the UCL’s
10    proscription against unfair business practices by, among other things: failing to
11    fully refund premiums with full knowledge of the amount and extent of their
12    excess and the fact that they are not based on an accurate assessment of risk, and
13    failing to disclose the fact that it is earning excessive profits, or the amount of
14    those profits.
15          73.    There is no societal benefit from USAA’s conduct—only harm to
16    consumers. USAA has engaged in immoral, unethical, oppressive, and
17    unscrupulous activities that are substantially injurious to consumers, and the
18    gravity of its conduct outweighs any alleged benefits attributable to such conduct.
19          74.    California has a longstanding public policy limiting an insurer’s
20    ability to impose rates in excess of a fair rate of return on the insured risk that is
21    reflected in various statutes and regulations.
22          75.    USAA’s conduct in collecting and retaining premiums that have
23    become excessive in light of the unforeseen pandemic-related reduction in driving
24    violates this vital public policy and the intent of the statutes and regulations
25    designed to ensure that the rates collected by insurers relate to the risk insured
26    and are limited to a fair rate of return.
27          76.    There were reasonably available alternatives to further USAA’s
28    legitimate business interests, other than the conduct described herein.
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                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.17 Page 17 of 20



1           77.    The injury caused by USAA’s failure to provide adequate refunds is
2     substantial in light of very conservative calculations that a 30% minimum average
3     premium refund would be required to correct its unfair windfall just for the time
4     period from mid-March through the end of April 2020.
5           78.    Plaintiff and the members of the putative class have been injured as a
6     direct and proximate result of USAA’s conduct in violation of the UCL. Plaintiff
7     and the members of the putative class lost money or property and suffered injury
8     in fact because USAA collected and retained, and continues to collect and retain,
9     premiums in excess of the limitations imposed by California public policy, which
10    rightfully belong to Plaintiff and the putative class.
11          79.    Plaintiff and the members of the putative class were unable to
12    reasonably avoid these harms because the analysis required to determine premium
13    refunds was within the exclusive knowledge of USAA.
14          80.    Plaintiff therefore request that this Court grant the relief enumerated
15    below. Otherwise, Plaintiff and the members of the putative class may be
16    irreparably harmed and/or denied an effective and complete remedy.
17                               PRAYER FOR RELIEF
18          WHEREFORE, Plaintiff, individually and on behalf of the members of
19    the putative class, prays for relief as follows:
20          A.     Certification of this action as a class action pursuant to Fed. R. Civ.
21                 P. 23;
22          B.     The appointment of Plaintiff as class representative and his counsel
23                 as class counsel;
24          C.     A declaration that the practices complained of herein are unlawful
25                 and violate the laws of California alleged herein;
26          D.     An injunction against Defendants from engaging in the unlawful
27                 practices complained of herein;
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                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.18 Page 18 of 20



1           E.    Awarding Plaintiff and the members of the putative class their
2                 damages in an amount to be determined at trial, including
3                 compensatory damages, consequential damages, punitive damages,
4                 and any other damages provided under relevant laws;
5           F.    Disgorgement of, restitution of, and/or imposing a constructive trust
6                 upon, the ill-gotten gains derived by Defendants from its unjust
7                 enrichment;
8           G.    An order awarding Plaintiff and the class attorneys’ fees, costs, and
9                 expert costs;
10          H.    An order awarding Plaintiff and the members of the putative class
11                pre-judgment and post-judgment interest, as allowed by law; and
12          I.    Such further relief as may be appropriate.
13
14                              DEMAND FOR JURY TRIAL
15          Plaintiff demands a trial by jury on all issues so triable.
16
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                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.19 Page 19 of 20



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                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00518-TWR-JLB Document 1 Filed 04/14/22 PageID.20 Page 20 of 20



1                                  Attorneys for Plaintiff Philip Johnson, and the
                                   putative class.
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                               CLASS ACTION COMPLAINT
